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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Criminal Case No. 22-cr-00012-WJM-1

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 1. LAWRENCE RUDOLPH and
 2. LORI MILLIRON,

 Defendants.

 ______________________________________________________________________________

           VERIFIED PETITION FOR ADJUDICATION OF INTERESTS IN
                       PROPERTY ORDERED FORFEITED
 ______________________________________________________________________________

         Petitioners Julian and AnaBianca Rudolph (hereinafter collectively “Petitioners”), by and

 through their undersigned counsel, petition this Court for an ancillary hearing pursuant to 21

 U.S.C. § 853(n)(2), incorporating 18 U.S.C. § 982, and assert their interest as innocent third parties

 with respect to the property which has been forfeited to the United States, in the above-styled case,

 as follows:

         1.     Julian Rudolph (“Julian”) is the son of Defendant Lawrence Rudolph (“Dr.

 Rudolph”) and decedent Bianca Rudolph (“Mrs. Rudolph”).

         2.     AnaBianca Rudolph (“AnaBianca”) is the daughter of Dr. Rudolph and Mrs.

 Rudolph.

         3.     Petitioners hereby assert their legal interests in the following property ordered

 forfeited to the United States in this Court’s Preliminary Order of Forfeiture:

                a. 58.74% of the value of the real property located at 7000 N 39th Place, Paradise

                    Valley, Arizona 85253;
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                b. 50.55% of the value of the real property located at 103 Morningside Drive,

                    Cranberry Township, Pennsylvania 16066;

                c. Approximately $3,496,092.04 seized from Bank of New York Mellon account

                    #10532701000, located at 500 Ross Street, Pittsburgh, Pennsylvania 15262, in

                    the name of the Lawrence P. Rudolph Trust;

                d. Approximately       $527,736.24       seized    from      Vanguard       account

                    #058588150069515, located at 100 Vanguard Blvd., Malvern, Pennsylvania

                    19355 in the name of the Lawrence P. Rudolph and Bianca T. Rudolph TR-

                    Rudolph Trust;

                e. Approximately       $751,776.28       seized    from      Vanguard       account

                    #054088150069515, located at 100 Vanguard Blvd., Malvern, Pennsylvania

                    19355 in the name of the Lawrence P. Rudolph and Bianca T. Rudolph TR-

                    Rudolph Trust;

                f. A 2018 Ashton Martin DB-11, VIN # SCFRMFAV5JGL03309 seized on

                    December 21, 2021 from Lawrence Rudolph located at 7175 E. Camelback

                    Road, Scottsdale, Arizona 85251; and

                g. A 2017 Bentley Bentayga, VIN # SJAAC2ZV2HC014709 seized on December

                    21, 2021 from Lawrence Rudolph located at 7175 E. Camelback Road,

                    Scottsdale, Arizona 85251.

        4.      On or about October 11, 2016, Mrs. Rudolph died from a single shotgun round to

 the chest while on a hunting trip with Dr. Rudolph in Zambia.

        5.      Prior to her death, Mrs. Rudolph obtained the following nine life insurance policies

 from seven different insurance carriers:
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                        Policy                          Approx.
    Insurance                                                        Primary       Contingent
                                        Amount ($)       Claim
    Company            Number                                       Beneficiary    Beneficiary
                                                         Date
    AAA Life                                                              The
                       GT8107                                                       Lawrence
    Insurance                           200,000.00     11/7/2016        Rudolph
                   Cert.4019648262                                                  Rudolph1
    Company                                                              Trust
                                                                                   AnaBianca
                                                                        Lawrence
     Ameritas        U00013758A         751,849.32     11/14/2016                  and Julian
                                                                        Rudolph
                                                                                    Rudolph
                                                                                   AnaBianca
                                                                        Lawrence
     Ameritas        T00017578A         1,003,049.90 11/14/2016                    and Julian
                                                                        Rudolph
                                                                                    Rudolph
                                                                          The      AnaBianca
   Fidelity Life
                     0100382288         100,973.41     10/31/2016       Rudolph    and Julian
   Association
                                                                         Trust2    Rudolph3
  Genworth Life
                                                                          The
   and Annuity                                                                      Lawrence
                       1308458          844,533.88     11/7/2016        Rudolph
    Insurance                                                                       Rudolph
                                                                         Trust
    Company
   Great West                                                             The
                     104 TLP Cert.                                                  Lawrence
  Life Insurance                        1,000,157.54   11/7/2016        Rudolph
                        105665                                                      Rudolph
    Company                                                              Trust
     Metlife                                                                       AnaBianca
                                                                        Lawrence
    Insurance       215 150 755 UT      772,901.17     11/7/2016                   and Julian
                                                                        Rudolph
    Company                                                                         Rudolph




        1
          A document executed on July 27, 2016, changed the contingent beneficiary on this policy
 to Dr. Rudolph.
        2
           A document dated May 31, 2016, was sent to Fidelity requesting that the primary
 beneficiary be changed to the Rudolph Trust. A document dated August 1, 2016, was sent by
 Fidelity to the insured indicating the beneficiary change could not be processed without Mrs.
 Rudolph’s signature. A renewed change of beneficiary request was sent to Fidelity on September
 1, 2016. Though Petitioners do not have an approval form from Fidelity documenting the change
 in beneficiary status, the claim on the policy was eventually paid to the Rudolph Trust in 2017.
        3
        A document dated June 18, 2012, changed the contingent beneficiaries on this policy to
 AnaBianca and Julian.
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                         Policy                           Approx.
    Insurance                                                           Primary       Contingent
                                         Amount ($)        Claim
    Company             Number                                         Beneficiary    Beneficiary
                                                           Date
  Transamerica                                                             The
                                                                                        Lawrence
  Life Insurance        42728878         503,438.85      11/7/2016       Rudolph
                                                                                        Rudolph4
    Company                                                               Trust
  Transamerica                                                             The
                                                                                        Lawrence
  Life Insurance        42186233         500,840.86      11/7/2016       Rudolph
                                                                                        Rudolph5
    Company                                                               Trust



        6.      True and correct copies of the nine insurance policies, including their beneficiary

 designations, are attached hereto as Exhibit A.

        7.      Although Mrs. Rudolph largely designated Dr. Rudolph, or a family trust (the

 “Rudolph Trust”) controlled by Dr. Rudolph,6 as the primary beneficiary on these insurance

 policies, she ensured her children were also specifically designated as the contingent beneficiaries

 on multiple policies, such that they became entitled to receive the proceeds on them should Dr.

 Rudolph predecease her or otherwise be disqualified (like what happened here).

        8.      Additionally, the Rudolph Trust, which is the primary beneficiary on six of the nine

 policies, provides for distribution of the trust property to Julian and AnaBianca in the event that

 Dr. Rudolph is deceased or otherwise prohibited from acting as a beneficiary. See The Rudolph

 Trust, Section 12.01, at 12-1, attached hereto as Exhibit C.




        4
          A document executed on July 29, 2016, changed the contingent beneficiary on this
 policy from AnaBianca and Julian to Dr. Rudolph.
        5
          A document executed on July 29, 2016, changed the contingent beneficiary on this
 policy from AnaBianca and Julian to Dr. Rudolph.
        6
         As of December 19, 2022, Dr. Rudolph resigned as trustee of the Rudolph Trust. See
 Resignation of Trustee, attached hereto as Exhibit B.
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        9.      Almost immediately after Mrs. Rudolph’s death, between October 31, 2016, and

 November 14, 2016, Dr. Rudolph began submitting claims for payment in relation to these nine

 policies. In so doing, he failed to disclose his role in the circumstances of her death.

        10.     Based on Dr. Rudolph’s representations that Mrs. Rudolph’s death was an accident,

 the insurance companies paid Dr. Rudolph, or the Rudolph Trust that Dr. Rudolph controlled, the

 proceeds of the various policies between January and March of 2017.

        11.     In total, Dr. Rudolph and/or the Rudolph Trust he controlled received

 approximately $4,877,744.93 from the seven life insurance companies.

        12.     Nearly five years after murdering his wife and fraudulently submitting claims for

 the proceeds of her life insurance policies, Dr. Rudolph was arrested by federal law enforcement.

        13.     On January 5, 2022, a federal grand jury returned an indictment against Dr.

 Rudolph charging him with one count of first degree overseas murder, in violation of 18 U.S.C.

 §§ 1111 and 1119, and one count of mail (insurance) fraud, in violation of 18 U.S.C. § 1341.

        14.     A jury convicted Dr. Rudolph of both counts on August 1, 2022.

        15.     After the conclusion of the trial, the government moved for an order that Dr.

 Rudolph: (1) forfeit property identified as proceeds of his insurance fraud offense; and (2) pay

 mandatory restitution to the victims of his crimes.

        16.     Although the government specifically stated in an earlier court filing that Julian and

 AnaBianca are “the victims of the crime,” see 22 CR 12, Dkt. #256, at 9, in its November 15, 2022

 Motion for Mandatory Restitution and Forfeiture, the government took the position that the only

 victims entitled to restitution are those insurance companies that paid out on claims previously

 submitted by Dr. Rudolph in 2017. 22 CR 12, Dkt. # 296, at 8.
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         17.     The life insurance policies at issue in this matter are straightforward, industry

 standard contracts that require the insurance companies to pay out the proceeds of the policies

 under any circumstances other than suicide. The policies also contain simple choice of law

 provisions that point to specific states, namely Arizona, Illinois, and Pennsylvania. Each of those

 states has nearly-identical Slayer Statutes that expressly prohibit Dr. Rudolph from benefitting

 from his wife’s life insurance policies and, more importantly, provide for Petitioners to step in to

 benefit in his place.

         18.     As such, the fraudulent misrepresentations that Dr. Rudolph made to the insurance

 companies did not change the fact that those companies were contractually obligated to pay out

 the proceeds on the policies in Mrs. Rudolph’s name. Instead, those misrepresentations simply

 changed to whom the funds were sent. But for Dr. Rudolph’s conduct, Petitioners would have

 received the funds from the life insurance companies in the first instance.

         19.     Moreover, a number of the insurance companies have themselves recognized that

 Dr. Rudolph’s actions did not alter their financial and contractual obligations to pay out to a lawful

 beneficiary the proceeds of Mrs. Rudolph’s insurance policies.

         20.     Petitioners’ counsel has contacted the seven insurance companies identified herein.

 The five insurance companies that have responded to counsel’s inquiries have engaged in either

 oral or written discussions with counsel regarding their entitlement to receive restitution in this

 matter. These companies have confirmed that they were contractually required to make the

 payments under any circumstances other than suicide and implied that, as a result, they not entitled

 to restitution because of their contractual obligation to pay these claims regardless of Dr.

 Rudolph’s conduct. See, e.g., Letter from Genworth Life and Annuity Insurance Company,

 attached hereto as Exhibit D.
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          21.     Further, materiality witnesses called by the government as representatives of the

 insurance companies at trial each stated that disclosure concerning the circumstances of Mrs.

 Rudolph’s death would have been valuable not for purposes of whether they were contractually

 required to pay claims (which they were), but instead because the proceeds should have been paid

 to other lawful beneficiaries – namely, Julian and AnaBianca. See, e.g., U.S. v. Rudolph, et al., 22

 CR 12, Trial Transcript, Day 6, Testimony of Greg Mirabelli, pg. 55-56, attached hereto as Exhibit

 E.

          22.     The foregoing statements by the life insurance companies align with well-settled

 tenets of law. Per applicable state laws, longstanding caselaw from courts across the United States,

 and the clear provisions of the life insurance policies, the life insurance companies discharged all

 their obligations under the policies at the moment that they paid Dr. Rudolph the proceeds. This

 includes the obligation to pay Julian and AnaBianca as contingent beneficiaries and, as a result,

 extinguishes any contractual liability the life insurance companies had to Julian and AnaBianca.

          23.     There are no other claimants to the life insurance proceeds.

          24.     For these reasons, Julian and AnaBianca’s interests in the insurance proceeds have

 been held in a constructive trust since the moment of Mrs. Rudolph’s murder, and thus the

 insurance proceeds and any assets deriving therefrom are not properly subject to forfeiture.

          25.     Alternatively, should this Court find Petitioners are not the proper beneficiaries of

 the constructive trust, the insurance companies are the proper beneficiaries of the constructive

 trust.

          26.     On May 17, 2023, this Court entered the Preliminary Order of Forfeiture ordering

 the forfeiture of the above-referenced assets identified as proceeds of Dr. Rudolph’s insurance

 fraud offense.
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         27.     Pursuant to 21 U.S.C. § 853(n)(6), Petitioners have the legal right, title, or interest

 in the property described herein, and such right, title, or interest renders the Preliminary Order of

 Forfeiture invalid in whole or in part because the right, title, or interest was vested in Petitioners,

 rather than Dr. Rudolph, or Petitioners’ right, title, or interest was superior to any right, title, or

 interest of Dr. Rudolph at the time of the commission of the acts which gave rise to the forfeiture

 of the property.

         WHEREFORE, for the reasons set forth herein as well as presented in the accompanying

 Memorandum of Law, Petitioners seek relief from this Court’s Preliminary Order of Forfeiture

 and hereby request, pursuant to 21 U.S.C. § 853(n)(5), that this Court hold a hearing ancillary to

 the criminal conviction of Dr. Rudolph, at which Petitioners may testify and present evidence and

 witnesses on their own behalf, and further that this Court fully recognize in the Final Order of

 Forfeiture the interest of Petitioners as set forth herein and order that the forfeited money, property,

 accounts, and vehicles, as well as the appreciation and/or proceeds from the sale of these assets,

 be disbursed to Petitioners.



 Dated: June 16, 2023

                                                                          PETITIONERS’ COUNSEL

                                                                      /s/_Christopher P. Hotaling__
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                                                                                /s/_John R. Sandweg
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                                                         Attorneys for Petitioners
                                                         Julian and AnaBianca
                                                         Rudolph
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                                VERIFICATION OF PETITION


           I, Julian Rudolph, am the son of Defendant Lawrence Rudolph and decedent Bianca

Rudolph, the trustee of the Rudolph Trust, and the executor of the Estate of Bianca Rudolph. I

am authorized to execute this Verification of my and the Estate’s Petition for Adjudication of

Interests in Property Ordered Forfeited. Pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing Petition is true and correct.



Date: June 16, 2023                                                 _______________________




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the forgoing was filed electronically on June 16, 2023, and

thereby delivered by electronic means to all registered participants.




                                                     /s/_John R. Sandweg
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